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           EXHIBIT B
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From:                             Justin Saif
Sent:                             Monday, June 26, 2023 12:00 PM
To:                               Wiech, Christopher A.; James Ulwick; Amy Keller; Lamb, Chelsea M.
Cc:                               aschubert; bfaubus; bflick; bluongo; bnaumes; bryan.thompson; cab; ccarlson; cmoore;
                                  Christina Sarraf; dpastor; dtomascik; ehaber; erica; ggranade; jaci; jcrossman; jkeohane;
                                  jmerino; JPizzirusso; kim; kjamison; klaukaitis; kquat; lvn; mblauner; mdann; mk;
                                  mpatronella; mramirez; mreese; Ndill; nmigliaccio; Nathaniel Orenstein; pvallely;
                                  rschubert; sec; Sharon Cruz; snathan; ssoneji; tom; Raymond P. Ausrotas; William
                                  McGonigle; Ian McLoughlin
Subject:                          RE: Debt Cleanse et al. v. LastPass - Proposed Discovery Protocols
Attachments:                      LastPass - Confidentiality Order - DRAFT.docx; LastPass - ESI Protocol - DRAFT.docx;
                                  LastPass - Privilege Log Protocol - DRAFT.docx; LastPass - 502(d) and Clawback Protocol
                                  - DRAFT.docx


Hi Chris,

As we have previously noted, Plaintiffs believe that is it appropriate to begin formal discovery in the ordinary course, as
discovery is not automatically stayed pending a motion to dismiss. See Dicenzo v. Massachusetts Dep't of Correction, No.
3:15-CV-30152-MGM, 2016 WL 158505, at *1 (D. Mass. Jan. 13, 2016) (“The [party wishing to stay discovery] bears the
burden of showing good cause and reasonableness for a stay of discovery”). Because so much information relevant to
this litigation is in the sole possession of Defendants, discovery is necessary to facilitate settlement and to address
dispositive motions. For this and other reasons, Plaintiffs plan to seek a scheduling conference promptly upon filing their
Consolidated Complaint. We hope that Defendants will not oppose this request.

To that end, we have prepared draft protocols that outline proposed guidelines and procedures for conducting discovery
in this case for your review:

    1.   Confidentiality Order
    2.   ESI Protocol
    3.   Privilege Log Protocol
    4.   502(d) and Clawback Protocol

We look forward to discussing and/or receiving redlines, comments, etc. and working towards a mutually acceptable set
of protocols.

Lastly, you had previously indicated that you were not sure whether you would provide us with details of the insurance
coverage maintained by your client. Please let us know whether you are willing to provide this information at this
time.

Please let us know if you have any questions or would like to discuss.

Thank you,
Justin




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